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   From z James Nolan
          Reg . No . 03798-008
          FCC Coleman Medium
          P.O . Box 1032
          Coleman e Florida 33521
                                                  December 2. 2014

     To z Honorable William J . Zloch
          U.S. District Judge
          U .S . Courthouse
          299 E. Boward Blvd .
          Fort Lauderdale y Florida 33301
               RE z Sentence Reduction Consideration



   Yo ur Ho nor z
          On   October         1989   you   sentenced me to       fifty-years.
   Through     the   course   of my   incarceration    I   have    strived   to
   rehabilitate myself , first of all by accepting the Lord Jesus
   Christ as my Savior and Redeemer , as I told you at the time of

   my sentencing . In so doing , I took advantage of the courses
   offered by the BOP which were best suited to help me correct
   my previous behavior . I earned my G .E .D., took the 500 Hour
   Residential Drug Abuse        Program , the 40 hour Drug Program , 2
   Christian 12      Step Drug Programs, and a Barbering Technology
   course, as well as other educational courses. I am at this time
   a Mentor in the Skills Program here at Coleman-Medium .
          I 've only had four incident reports in the 25 years since
   you sentenced me, and two of those were dism issed . But , during
    the same period I 've received all the extra good time               could

    be given . The Superior Programming I am now participating in ,
    in for the satisfaction I receive in helping others , since I
    can receive no more extra good time .            also am mindful that :
    'L o.charity shall cover the multitude of sins .'' 1 Peter 4:8b
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        My conduct in the last 25 years is devoid of violence , or
   drugs of any sort. On the contrary , I 'm more sociable due to
   God 's Grace . I've not harmed but helped . I even save a black

   inmates life by using the Heim lich Maneuver when he was choking
   to death . The officer who was present at the time didn 't know
   what to do , and called medical for help . The Doctor later said

   that if I hadn 't used the Heimlich Maneuver on him when I did,
   he would have been dead by the time medical staff reached him .
         If you recall , at the time of my sentencing hearing I told
   you I had became a Christian in 1982, and that I had accepted
   the Lord Jesus Christ as my Savior . And that the Grace of God
   had brought about a change in the character of Jim Nolan . I told
   you that the new Jim Nolan would not be a Danger to Society ,

   and that I was not the person I was in the 60 1s and 70 's , and

   that I didn 't deserve no more than a 40 years sentence.
         In handing down my sentence , Your Honor stated : ''The Court
   acknowledges the testimony presented by Mr . Nolan here today
   with respect to his conversion to Christianity : but finds that
   the greater weight of the evidence, the preponderance of the
   evidence, demonstrates a great likelihood that Mr. Nolan would
   continue to engage in criminal conduct despite his involvement
   in Christianityo'' But , the events discussed above shows that
   since my being sentenced by Your Honor . I have indeed continued
   to follow the doctrine of correction set forth by my Lord Jesus
   Christ . Thus proving Your Honor 's assessment of me at that time
   to be an error . Your statement shows either :            You don 't know
   the change that comes with submission to the Will of Christ ;

   or (2) You thought I was not sincere when I said I'd accepted
   the Lord Jesus Christ as my Savior .

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            Also , I have three times been up for parole since your
   sentencing , and have been denied each time. The first time in

   1997 ,     the     Parole       Examiner        recommended        a        fifteen      year

   reconsideration Hearing for 10/20/12. At my hearing of 10/11/12,
   as well as my recent hearing on 10/8/14, the Parole Examiner
   recommended       that    I    be      Paroled,      but     the   Parole      Commission
   overruled the recommendation both times. They did so even though
   I had overwhelming support for my release back into society from
   numerous Administrative Staff , Correctional Officers , Chaplains,
   and    outside     organizations.         The        Skills    Program       Coordinator,
   Psychologist , Dr . Benitez             strongly       voiced      her       Professional

   observation       of     my    shown    readiness       to    be   reintegrated          into
   society. Though not stated , it is my belief, that the Parole

   Commissioner 's reason           for denying me Parole was due to Your
   Honor 's recommendation that I not be given a parole.
            This begs the question of whether it is at al1 feasible
   that I could fool the Officers , Counselors , Case Managers , Unit
   Managers , Associate           Wardens, and Wardens for over 33 years?
   Would these Staff members, and Administrators of the FBOP make
    recommendations that               be given extra-good-time over the years
         my actions were not commendable? So much so , that I've now
    earned    all     of    the    good-time       I    can     possibly       earn   on    this

    sentence .      How    extraordinary       and      compelling        is    this?      It   is
    preposterous to look at the last 33 years of my conduct , and
    formulate a conclusion that I would be a danger to the safety

    of society.
             I now    suffer from multiple ailments which are : Chronic
    Arthritis, Advance Degenerate                  Disc Disease--from which I now


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   need to use a cane to aide me in getting around , and have            lost

   over two inches from my original height . I also suffer from
   Sleep Apnea--for which I use a CPAP Breathing Machine at night
   so that I can breath as I sleep . I've had skin cancer treatment ,
   prostate cancer surgery , and                am slowly losing my eyesight ,
   and hearing. It is also believed that I have a high probability
   of having the gene that causes Alzheimer 's Disease. Since 50th
   of   my   parents--who are deceased--suffered           from the disease .
   Needless to say being           years old , adds to the debilitating
   affects of my illnesses .
          I here seek to see if the Mercy and Forgiveness given to
   me by the Lord , would likewise encourage in you to do the same .
   As it is always good remember that a1l who have shown contrition
   reflected in their current conduct , are worthy to receive mercy
   and forgiveness . Taking note that the Lord 's prayer admonishes
   us to forgive others trespasses , for all will seek forgiveness

   of their trespasses of God 's Laws. In this                am hopeful that
   you will be merciful, for the Lord also says: ''Be you therefore
   merciful , as your Father also is merciful .'' Luke 6:36 , and ''For

   he shall have judgment without mercy, that has shown no mercy;
   and mercy rejoices against judgmento'' James 2:13
         For a1l of the above reasons I hope that you will consider

   reducing my time so that           can spend my remaining years with
   my family sooner rather than later .
          I conclude by stating that the love of the Lord , my Rock ,
   fills my heart. He has blessed me in so many wonderful ways .
   And though He warns that many will be offended by the testimony

   of Him , not to testify of Him , in my sight , is to deny the


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   change brought about in my life by His Grace , and that I will
   never do. The Lord is the most important person in my life , and
   has for the last 33 years guided me through many illnesses and
   obstacles , and I am certain that He can carry me through the

   last 18 months of this sentence if need be .


                                                  Re   ectfully   submitted,

                                                  J    es Nol n




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